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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
 PRODUCTS LIABILITY                                                                   20-MD-2924
 LITIGATION
                                                          JUDGE ROBIN L ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART

 __________________________________/

 THIS DOCUMENT RELATES TO:
 Deborah Assman
 (Plaintiff Name(s))



        The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Master Personal Injury Complaint                 in In re: Zantac (Ranitidine) Products Lability

 Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint as permitted

 by Pretrial Order No. 31.

         Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

        Plaintiff(s), by counsel, allege as follows:

                       I.      PARTIES, JURISDICTION, AND VENUE

    A. PLAINTIFF(S)

        1.                   Deborah Assman
                Plaintiff(s) ____________________                                         (check the
                applicable designation):

                               On behalf of [himself/herself];

                               In representative capacity as the __________________, on behalf
                               of     the     injured    party,                        Name)
                                Deborah   Assman
                               ___________________.



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        2.      Injured Party is currently a resident and citizen of (City,                               State)
                 Vista, California
                _________________________ and claims damages as set forth below.

                                                             OR

                Decedent died on (Month, Day, Year) _______________.                         At the time of
                                                                                               (City, State)
                _________________________.

 If any party claims loss of consortium,

        3.      _________________                                          alleges damages for loss of
                consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                citizen and resident of (City, State) _________________________.

        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                _________________________.


        DEFENDANT(S)


                Plaintiff(s) name(s) the following Defendants from the Master Personal Injury
                Complaint in this action:

                       Brand Manufacturers:
                        All entities collectively referred to in the Master Long Form Complaint as
                        Boehringer Ingelheim; GlaxoSmithCline; Pfizer; and Sanofi


                        Ranbaxy, Inc.; Sun Pharmaceutical Industries Ltd. (India); Sun Pharmaceutical
                        Industries, Inc., f/k/a Ranbaxy Pharmaceuticals, Inc.; Teva Pharmaceutical Industries
                        Ltd. (Israel); Teva Pharmaceuticals USA, Inc.

                        AmerisourceBergen Corporation; Cardinal Health, Inc.; Chattem, Inc., McKesson
                        Corporation




                        Apotex Corp.; Apotex Inc.; Auro Health LLC; Aurobindo Pharma Ltd. (India);
                        Aurobindo Pharma USA, Inc.; Dr. Reddy's Laboratories SA (Switzerland); Dr. Reddy's
                        Laboratories, Inc.; Dr. Reddy's Laboratories, Ltd. (India); Geri-Care Pharmaceuticals,
                        Corp.; Granules India, Ltd. (India); Granules USA, Inc.; L. Perrigo Company; Mylan
                        Pharmaceuticals, Inc. (MPI); Perrigo Company; Perrigo Company, plc; Perrigo
                        Research & Development Company; Strides Arcolab International Ltd. (UK); Strides
                        Pharma, Inc.; Wockhardt USA LLC; Wockhardt USA, Inc.; Wockhardt, Ltd. (India);




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    C. JURISDICTION AND VENUE


       7.    Identify the Federal District Court in which Plaintiff(s) would have filed this action
             in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
             Court to which their original action was removed]:
             California Southern District Court
       8.    Jurisdiction is proper upon diversity of citizenship.



                                   II.     PRODUCT USE


       9.    The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                            By prescription

                            Over the counter

       10.   The Injured Party used Zantac and/or generic ranitidine from approximately
                              01/01/2000
             (month, year) _______________       01/01/2019
                                           to _______________.


                                III.     PHYSICAL INJURY


       11.                                                                               he/she]
             was diagnosed with the following specific type of cancer (check all that apply):

  Check all Cancer Type                                              Approximate       Date      of
  that                                                               Diagnosis
  apply
            BLADDER CANCER                                           11/21/2018
            BRAIN CANCER
            BREAST CANCER
            COLORECTAL CANCER
            ESOPHAGEAL/THROAT/NASAL CANCER
            INTESTINAL CANCER
            KIDNEY CANCER
            LIVER CANCER
            LUNG CANCER
            OVARIAN CANCER
            PANCREATIC CANCER
            PROSTATE CANCER
            STOMACH CANCER




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             TESTICULAR CANCER
             THYROID CANCER
             UTERINE CANCER
             OTHER CANCER:

             DEATH (CAUSED BY CANCER)


       12.    Defendants, by their actions or inactions, proximately caused the injuries to
              Plaintiff(s).


                         IV.    CAUSES OF ACTION ASSERTED

       13.    The following Causes of Action asserted in the Master Personal Injury Complaint
              are asserted against the specified defendants in each class of Defendants
              enumerated therein, and the allegations with regard thereto are adopted in this Short
              Form Complaint by reference.

    Check if   COUNT Cause of Action
    Applicable
                 I   STRICT PRODUCTS LIABILITY                    FAILURE TO WARN

                   II      STRICT PRODUCTS LIABILITY              DESIGN DEFECT

                   III     STRICT PRODUCTS LIABILITY              MANUFACTURING
                           DEFECT

                   IV      NEGLIGENCE         FAILURE TO WARN

                   V       NEGLIGENT PRODUCT DESIGN

                   VI      NEGLIGENT MANUFACTURING

                  VII      GENERAL NEGLIGENCE

                  VIII     NEGLIGENT MISREPRESENTATION

                   IX      BREACH OF EXPRESS WARRANTIES

                   X       BREACH OF IMPLIED WARRANTIES

                   XI      VIOLATION OF CONSUMER PROTECTION AND
                           DECEPTIVE TRADE PRACTICES LAWS and specify the
                           statute below:
                           California Unfair Practices Act [17000-17101]
                           _______________________




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    Check if   COUNT Cause of Action
    Applicable

                     XII      UNJUST ENRICHMENT

                     XIII     LOSS OF CONSORTIUM

                     XIV      SURVIVAL ACTION

                     XV       WRONGFUL DEATH

                     XVI      OTHER:

                    XVII      OTHER:


                If Count XVI or Count XVII is alleged, additional facts supporting the claim(s):




                                            V.     JURY DEMAND


        14.     Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.



                                      VI.        PRAYER FOR RELIEF

        WHEREFORE,

 inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

 action, jointly and severally to the full extent available in law or equity, as requested in the Master

 Personal Injury Complaint.

        Lawana S. Wichman
 Lawana S. Wichman 53999
 James G. Onder, #38049-MO




 wichmann
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